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                                    45M:U8OÿHÿ9T5ÿ59U9UH8ÿH4ÿG9UH8ÿH8ÿH8:U9UH87ÿHÿ4594UMQÿ5Q5M75ÿM8:ÿ9T5
                                    G::58:S`EÿMUR54ÿHÿ:589U9=ÿ5M4U8OÿUQ5:Eÿ__ÿ:558:M89ÿU:589UU5:ÿM7
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                                    9T5ÿG::58:S`ÿM8:ÿU7ÿT5Q:ÿ9HÿM87°54ÿU8ÿ9T5ÿ_M79548ÿU794U9ÿHÿNU4OU8UME
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                               Document  1607/24/20  Page 4 Page
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                 Case 2:20-mj-00594-EJY    372 Filed
                                        Document  1507/24/20  Page 5 Page
                                                     Filed 07/22/20  of 11 1PageID#
                                                                             of 3   1916

AO 472 (Rev. 11/16) Order of Detention Pending Trial


                                       UNITED STATES DISTRICT COURT
                                                                    for the
                                                              District of Nevada

                   United States of America                             )
                              v.                                        )
                                                                        )     Case No. 2:20-mj-594-EJY
              KRISTOPHER LEE DALLMAN                                    )
                              Defendant                                 )

                                       ORDER OF DETENTION PENDING TRIAL
                                                       Part I - Eligibility for Detention

      Upon the

                   Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1), or
                   Motion of the Government or Court’s own motion pursuant to 18 U.S.C. § 3142(f)(2),

the Court held a detention hearing and found that detention is warranted. This order sets forth the Court’s findings of fact
and conclusions of law, as required by 18 U.S.C. § 3142(i), in addition to any other findings made at the hearing.

                             Part II - Findings of Fact and Law as to Presumptions under § 3142(e)

      A. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (previous violator): There is a rebuttable
      presumption that no condition or combination of conditions will reasonably assure the safety of any other person
      and the community because the following conditions have been met:
             (1) the defendant is charged with one of the following crimes described in 18 U.S.C. § 3142(f)(1):
                   (a) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18 U.S.C.
                   § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is prescribed; or
                   (b) an offense for which the maximum sentence is life imprisonment or death; or
                   (c) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
                   Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act
                   (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
                   (d) any felony if such person has been convicted of two or more offenses described in subparagraphs
                   (a) through (c) of this paragraph, or two or more State or local offenses that would have been offenses
                   described in subparagraphs (a) through (c) of this paragraph if a circumstance giving rise to Federal
                   jurisdiction had existed, or a combination of such offenses; or
                   (e) any felony that is not otherwise a crime of violence but involves:
                   (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. § 921);
                   (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. § 2250; and
             (2) the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C.
             § 3142(f)(1), or of a State or local offense that would have been such an offense if a circumstance giving rise
             to Federal jurisdiction had existed; and
             (3) the offense described in paragraph (2) above for which the defendant has been convicted was
             committed while the defendant was on release pending trial for a Federal, State, or local offense; and
             (4) a period of not more than five years has elapsed since the date of conviction, or the release of the
             defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.
                                                                                                                      Page 1 of 3
         Case 1:19-cr-00253-MSN   Document
                 Case 2:20-mj-00594-EJY    372 Filed
                                        Document  1507/24/20  Page 6 Page
                                                     Filed 07/22/20  of 11 2PageID#
                                                                             of 3   1917

AO 472 (Rev. 11/16) Order of Detention Pending Trial

      B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There is a
      rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
      defendant as required and the safety of the community because there is probable cause to believe that the defendant
      committed one or more of the following offenses:
             (1) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
             Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act (21
             U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508);
             (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
             (3) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years
             or more is prescribed;
             (4) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581-1597) for which a maximum term of
             imprisonment of 20 years or more is prescribed; or
             (5) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245,
             2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4),
             2260, 2421, 2422, 2423, or 2425.

      C. Conclusions Regarding Applicability of Any Presumption Established Above

                The defendant has not introduced sufficient evidence to rebut the presumption above, and detention is
                ordered on that basis. (Part III need not be completed.)
               OR
                The defendant has presented evidence sufficient to rebut the presumption, but after considering the
                presumption and the other factors discussed below, detention is warranted.

                                  Part III - Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention hearing,
the Court concludes that the defendant must be detained pending trial because the Government has proven:

   X By clear and convincing evidence that no condition or combination of conditions of release will reasonably assure
     the safety of any other person and the community.

      By a preponderance of evidence that no condition or combination of conditions of release will reasonably assure
      the defendant’s appearance as required.

In addition to any findings made on the record at the hearing, the reasons for detention include the following:

           Weight of evidence against the defendant is strong
           Subject to lengthy period of incarceration if convicted
           Prior criminal history
           Participation in criminal activity while on probation, parole, or supervision
           History of violence or use of weapons
           History of alcohol or substance abuse
           Lack of stable employment
           Lack of stable residence
           Lack of financially responsible sureties
           Lack of significant community or family ties to this district
                                                                                                                      Page 2 of 3
         Case 1:19-cr-00253-MSN   Document
                 Case 2:20-mj-00594-EJY    372 Filed
                                        Document  1507/24/20  Page 7 Page
                                                     Filed 07/22/20  of 11 3PageID#
                                                                             of 3   1918

AO 472 (Rev. 11/16) Order of Detention Pending Trial

           Significant family or other ties outside the United States
           Lack of legal status in the United States
           Subject to removal or deportation after serving any period of incarceration
           Prior failure to appear in court as ordered
           Prior attempt(s) to evade law enforcement
           Use of alias(es) or false documents
           Background information unknown or unverified
           Prior violations of probation, parole, or supervised release

OTHER REASONS OR FURTHER EXPLANATION:
Based on the allegations set forth in the Petition and Addendum, the *overnment’s proffer, the
information provided to the Court by Pretrial Services, DQG WKH RUGHU VLJQHG E\ 8QLWHG 6WDWHV 'LVWULFW -XGJH
76(OOLV,,,WKDWZDVILOHGRQ-XO\LQWKH(DVWHUQ'LVWULFWRI9LUJLQLDthe Court finds that 'efendant
poses a substantial risk of nonappearance and a danger to the community. The Court IXUWKHUfinds that there are
no conditions or combination of conditions that the Court FDQ fashion to reasonably assure the protection of the
community against risk of danger posed by 'efendant DQG KLV IXWXUH DSSHDUDQFH LQ FRXUW.  The Court
therefore orders that 'efendant be detained pending the transfer to the Eastern District of Virginia.




                                                 Part IV - Directions Regarding Detention

The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation
with defense counsel. On order of a court of the United States or on request of an attorney for the Government, the
person in charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an
appearance in connection with a court proceeding.

Date:                July 20, 2020
                                                                              United States Magistrate Judge




                                                                                                                   Page 3 of 3
Case 1:19-cr-00253-MSN  DocumentDocument
        Case 2:20-mj-00594-EJY   372 Filed
                                         9 07/24/20   Page 8Page
                                            Filed 07/20/20   of 111PageID#
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        Case 2:20-mj-00594-EJY   372 Filed
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         Case 2:20-mj-00594-EJY   372 Filed7 07/24/20  Page 10Page
                                              Filed 07/21/20   of 112 PageID#
                                                                      of 2    1921
Case 1:19-cr-00253-MSN Document 372 Filed 07/24/20 Page 11 of 11 PageID# 1922




                               UNITED STATES DISTRICT COURT
                                          OFFICE OF THE CLERK
                                          DISTRICT OF NEVADA
                                  LLOYD D. GEORGE U.S. COURTHOUSE
                                   333 LAS VEGAS BOULEVARD SOUTH
                                        LAS VEGAS, NEVADA 89101
                                              (702) 464-5400

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DISTRICT COURT CLERK                                                                              &+,()'(387<




7/23/2020


US District Court
District of Virginia Eastern
via email: InterdistrictTransfer_VAED@vaed.uscourts.gov



RE:     USA v. Dallman
        Your Case No. 1:19-cr-00253-TSE
        Our Case No. 2:20-mj-00594

Dear clerk:

         Please be advised that the above-referenced defendant was arrested in the District of Nevada (Las Vegas)
                                     District of Virginia Eastern
on a warrant issued by the _____________________________________         and appeared before United States
                     Elayna J. Youchah
Magistrate Judge __________________________                7/20/2020
                                                    on _____________.

  ✔
  G The Defendant has been detained and remanded to the custody of the United States Marshal for transport.

  G The Defendant was released on a personal recognizance bond and ordered to appear in your court on
    .
    ___________________________________.

   All documents completed in this district may be accessed via PACER and our website at
https://ecf.nvd.uscourts.gov.

Thank you.

%&#3",,&.1*, CLERK
By:


/s/ Darci Smith
___________________________
Deputy Clerk



Date Received:______________________________________

Received by:________________________________________
